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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

VERIFIED HIRING, LLC                            §
                                                §
v.                                              §      CASE NO. 6:16cv343-JRG-JDL
                                                §
GENERAL INFORMATION                             §
SERVICES, INC.                                  §

                                        FINAL JUDGMENT
     .
         Pursuant to the Motion to Dismiss, the Court hereby enters Final Judgment. Plaintiff

Verified Hiring, LLC, filed suit against Infomart, Inc. on April 14, 2016.

         IT IS HEREBY ORDERED that the above-entitled and numbered cause of action is

DISMISSED WITH PREJUDICE. All costs are to be borne by the party that incurred them.

         All motions by either party not previously ruled on are hereby DENIED.

         The Clerk of the Court is directed to close this case.
          SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 1st day of July, 2016.




                                                             ____________________________________
                                                             RODNEY GILSTRAP
                                                             UNITED STATES DISTRICT JUDGE
